                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                      CIVIL ACTION NO. 3:24-CV-00409-KDB-DCK

 JAZMINE COLE ,

 Plaintiff,

     v.                                                    ORDER

 BOJANGLES RESTAURANTS, INC.,

 Defendant.



          THIS MATTER is before the Court on Defendant’s Motion to Dismiss (Doc. No. 10).

The Court has carefully considered this motion and the parties’ briefs and exhibits. Ms. Cole is a

former Bojangles restaurant employee who alleges that the company violated the Americans with

Disabilities Act (“ADA”) when it did not reasonably accommodate her mental illnesses. However,

Ms. Cole has not established that she is disabled within the requirements of the ADA because she

has not sufficiently alleged that her conditions affect or limit “a major life activity.” Indeed, her

doctor specifically concluded otherwise. Therefore, even if the Court determined that Ms. Cole

has stated claims related to Bojangles’ alleged failure to reasonably accommodate her illness and

retaliation, issues which the Court does not reach and on which it expresses no opinion, her ADA

claims cannot proceed and the Court will GRANT the motion to dismiss.

                                      LEGAL STANDARD

          Under Rule 8(a)(2) of the Federal Rules of Civil Procedure, a complaint must contain a

“short and plain statement of the claim showing that the pleader is entitled to relief.” Rule 12(b)(6)

of the Federal Rules of Civil Procedure authorizes the dismissal of a complaint if it fails to state a

claim upon which relief can be granted. The purpose of Rule 12(b)(6) is to expose deficient

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allegations “at the point of minimum expenditure of time and money by the parties and the court.”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007).

       To survive a Rule 12(b)(6) motion to dismiss, the plaintiff must plead facts sufficient to

“state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(citing Twombly, 550 U.S. at 570). “A claim has facial plausibility when the pleaded factual

content allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). In evaluating whether a claim is

sufficiently stated, “[the] court accepts all well-pled facts as true and construes these facts in the

light most favorable to the plaintiff,” but does not consider “legal conclusions, elements of a cause

of action, . . . bare assertions devoid of further factual enhancement[,] ... unwarranted inferences,

unreasonable conclusions, or arguments.” Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc.,

591 F.3d 250, 255 (4th Cir. 2009); see Twombly, 550 U.S. at 555 (A claim will not survive a

motion to dismiss if it contains nothing more than “labels and conclusions, and a formulaic

recitation of a cause of action's elements.”). That said, “a well-pleaded complaint may proceed

even if it strikes a savvy judge that actual proof of those facts is improbable, and that a recovery

is very remote and unlikely.” Id. (internal citation and quotation marks omitted). In other words, a

motion to dismiss under Rule 12(b)(6) determines only whether a claim is stated; “it does not

resolve contests surrounding the facts, the merits of a claim, or the applicability of defenses.”

Republican Party v. Martin, 980 F.2d 943, 952 (4th Cir. 1992).

       Finally, Plaintiff is appearing pro se. A pro se complaint must be construed liberally. See

Haines v. Kerner, 404 U.S. 519, 520 (1972); see also Smith v. Smith, 589 F.3d 736, 738 (4th Cir.

2009) (“Liberal construction of the pleadings is particularly appropriate where . . . there is a pro

se complaint raising civil rights issues.”). However, the liberal construction requirement does not



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permit a district court to ignore a clear failure to allege facts in the complaint which set forth a

claim that is cognizable under federal law. Weller v. Dep't of Soc. Servs., 901 F.2d 387 (4th Cir.

1990).

                              FACTS AND PROCEDURAL HISTORY

           Jazmine Cole alleges that she worked as an assistant general manager (“AGM”) for

    Defendant Bojangles Restaurants, Inc. (“Bojangles”) between October 2022 and January 12,

    2024. Doc. No. 4 (Amended Complaint (“AC”)) at 4. She alleges that she suffers from “Anxiety,

    PTSD, Bipolar, Polyaltheria, [and] Chronic Miscarriages.” Id. On November 21, 2023, Cole

    requested an accommodation from Bojangles for an alleged “Bipolar I, depression” condition.

    Doc. No. 4-1 at 5. The accommodation Cole sought was for Bojangles to “keep me away from

    Natasha Teal,” her supervisor who she alleges yelled at her, called her names, and “just treat me

    any way belittle me in front of other staff, make rumors about my pregnancy losses etc.” Id. at

    4-5; see also Doc. No. 1-1 at 23 (Cole complaining in a text message that she was treated “like

    the dirt on the bottom of a shoe” at Teal’s restaurant); id. at 42 (Cole stating in an email dated

    October 20, 2023 that “issues are still arising between myself and my leader”). The medical

    provider certificate, signed by physician Jennifer Meadows, that accompanied Cole’s

    accommodation request states that her bipolar and depression conditions cause her “difficulty

    communicating with others (Natasha Teal).” Id. at 7.1 Significantly, however, Dr. Meadows’

    certificate further stated that Cole’s conditions did not affect a major life activity and did not

    limit one or more of Cole’s major life activities




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  The documents which Plaintiff attached to her Complaint and Amended Complaint can properly
be considered in deciding this motion to dismiss. See Sec’y of State for Defense v. Trimble
Navigation Ltd., 484 F.3d 700, 705 (4th Cir. 2007) (stating that in deciding a motion to dismiss
the court “may consider documents attached to the complaint”).
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           On December 1, 2023, Cole’s therapist, Shacoya Graham, wrote a letter addressed

    to Bojangles’ human resources department on Cole’s behalf. Doc. No. 4-1 at 3. Graham stated

    that Cole was “managing certain health challenges that require careful consideration of her daily

    routine. In light of this, I recommend implementing a revised work schedule for Jazmine,

    wherein she maintains a consistent 8-6 schedule from Monday to Friday. Additionally, it is

    imperative that she be granted Tuesdays and Saturdays off for medical reasons.” Id.2 Cole sent

    Graham’s letter to Bojangles by email on December 6, 2023. Doc. No. 1-1 at 47. Cole’s

    email led to approximately a month and a half of ultimately unsuccessful discussions between

    Cole and Bojangles to find a store and working situation that would accommodate her requests

    and preferences. See Id. at 25-29, 53-60. On January 12, 2024, Bojangles’ human resources

    representative informed Cole that Bojangles was unwilling to make the changes she was

    continuing to request, expressed the company’s view that it had “gone above and beyond to meet

    your personal requests regarding being moved to a new location that also included the Charlotte

    area and new schedules,” and stated that she was being terminated (“We think it is best we part

    ways”). Id. at 29.

           On April 5, 2024, Cole filed a charge of discrimination with the EEOC alleging that

    Bojangles discriminated and retaliated against her because of her alleged disability. AC at 5.

    Cole’s Amended Complaint alleges (in addition to failing to provide reasonable

    accommodation) that Bojangles retaliated against her for filing a charge of discrimination with

    the EEOC. Cole alleges that “once HR saw that I had an EEOC claim open the[y] separated me



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  In a follow-up letter dated April 24, 2024, after Cole’s termination and EEOC charge, Graham
stated that she never informed Bojangles “that Jazmine was incapable of performing her duties”
but rather that the suggested accommodation was to “facilitate her success in the workplace.” Doc.
No. 4-1 at 4.


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 from employment.” Id. However, the Court notes that the charge of discrimination Cole filed

 with the EEOC shows that she filed her charge on April 5, 2024, several months after her

 termination. See Doc. No. 1-1 at 1. After the EEOC issued Cole a Notice of Right to Sue letter,

 Cole filed this lawsuit on April 23, 2024. Doc. No. 1. Defendant subsequently filed a Motion to

 Dismiss, Doc. No. 10, which is fully briefed and ripe for the Court’s decision.

                                           DISCUSSION

       To state a claim under the ADA, a plaintiff must allege that she is “disabled within the

meaning of the ADA.” Wicomico Nursing Home v. Padilla, 910 F.3d 739, 751 (4th Cir. 2018).

The ADA “defines disability as ‘a physical or mental impairment that substantially limits one or

more major life activities,’ ‘a record of such an impairment,’ or ‘being regarded as having such an

impairment.’” Id. (quoting 42 U.S.C. § 12102(1)). “A plaintiff is disabled if he can show ‘(1) that

he has a physical or mental impairment, (2) that this impairment implicates at least one major life

activity, and (3) that the limitation is substantial.’” Id. (quoting Heiko v. Colombo Sav. Bank,

F.S.B., 434 F.3d 249, 254 (4th Cir. 2006)).

       A plaintiff must do more than make conclusory allegations that he or she has a qualified

disability. See Wicomico Nursing Home, 910 F.3d at 751 (dismissing complaint when it failed to

include any “allegations as to how or why the [plaintiffs] are disabled or meet the statutory

requirements for disability”). Rather, the plaintiff must provide sufficient facts to allow the Court

to infer that the plaintiff’s impairment “limited a major life activity and did so in a substantial

way.” Okyere v. John Bean Techs. Corp., No. 5:20-cv-190-FL, 2020 WL 7625237, at *7 (E.D.N.C.

Dec. 22, 2020) (dismissing ADA claim when the plaintiff “fail[ed] to allege how his injury affected

any specific major life activity, let alone how that limitation is substantial”).




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       The Court finds that Cole’s Amended Complaint fails to include facts to plausibly support

that she suffered from a disability within the meaning of the ADA. Cole includes no allegations

that her alleged anxiety, PTSD, bipolar disorder or other medical alleged conditions substantially

limited one or more of her major life activities. Further, the documents Cole attaches to her

amended complaint establish the contrary conclusion. Cole’s physician, Dr. Meadows, expressly

concluded that her impairment did not affect a major life activity and did not limit one or more

major life activities. Doc. No. 4-1 at 7. Similarly, Cole’s therapist wrote that “[a]t no point did I

indicate that Jazmine was incapable of performing her duties.” Id. at 4. These clear statements by

Cole’s medical providers do not permit the Court to hold that she has sufficiently alleged a

disability under the ADA, which is, of course, necessary for her ADA claims to proceed. See

Wicomico Nursing Home, 910 F.3d at 751; Okyere, 2020 WL 7625237, at *7. Therefore, Cole’s

ADA claims will be dismissed.

       Finally, having determined that Cole cannot establish that she has a disability as defined in

the ADA, the Court need not and will not decide whether she has otherwise stated a valid claim

that Bojangles violated the ADA. To be clear, the Court makes no judgment concerning or

encouraging the alleged behavior of Cole’s supervisor. Rather, its role is limited to determining if

unlawful (not merely inappropriate or even harmful) conduct occurred in accordance with the

relevant statues and legal rules. See DeJarnette v. Corning Inc., 133 F.3d 293, 298–99 (4th Cir.

1998) (Federal courts “do[] not sit as a kind of super-personnel department weighing the prudence

of employment decisions ...”).

                                             ORDER

       NOW THEREFORE IT IS ORDERED THAT:

           1. Defendant’s Motion to Dismiss (Doc. No. 10) is GRANTED; and



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     2. The Clerk is directed to close this matter in accordance with this Order.

  SO ORDERED ADJUDGED AND DECREED.

                  Signed: December 5, 2024




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